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United States Bankruptcy Court for the
Eastern District of Louisiana

IN RE:
Case No. 18-10904
Mary E. Folds Chapter 7

Debtor(s) /

 

ORDER FOR RELEASE OF UNCLAIMED FUNDS

IT APPEARING THAT the amount of $541.12 deposited with the court, constituting unclaimed funds
due to Synchrony Bank, claimant in the above-referenced case, are on deposit with the United States

Treasury.

IT ALSO APPEARING THAT Dilks & Knopik, LLC, Attorney in Fact for Claimant, has furnished the
required documentation for release of unclaimed funds. The social security number of the claimant (or
federal tax id. number if claimant is a corporation) has been provided. If applicant is a funds locator, a
Power of Attorney granting authority to petition the Court to collect funds on behalf of the claimant has
been filed.

THEREFORE, the Clerk of Court is authorized and directed to draw a check(s) on the funds on deposit in
the registry of the court in the principal amount of $541.12, plus all interest earned, less the assessment fee
for the administration of funds, payable to PYOD LLC, 55 Beattie Place, Ste-110 , Greenville, SC 29601
and to mail or deliver the check(s) to Dilks & Knopik, LLC at 35308 SE Center Street, Snoqualmie, WA
98065-9216.

on
Dated: 1 let. | 3, 1014, NG a nermin—

wees BANKRUPTCY COURT JUDGE

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